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IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                     ILLINOIS EASTERN DIVISION


DENA NATOUR FOR MINOR                                             )
HADI ABUATELAH                                                    )
                                                                  )
Plaintiff,                                                        )
                                                                  )
                   v.                                             )      22-CV-03998
                                                                  )
CHIEF OF OAK LAWN POLICE DANIEL                                   )      Judge Steven C. Seeger
VITTORIO, OFFICER B. COLLINS, OFFICER                             )
P. O’DONNELL, OFFICER M. HOLLINGSWORTH                            )
AND THE VILLAGE OF OAK BROOK                                      )


                                  MOTION FOR LEAVE TO AMEND

             Plaintiff, DENA NATOUR ON BEHALF OF MINOR HADI ABUATELAH (hereinafter

 Plaintiff), by counsel, Zaid Abdallah of Abdallah Law and Joseph Milburn of CAIR CHICAGO,

 against CHIEF OF OAK LAWN POLICE DANEL VITTORIO, OFFICER B.                            COLLINS,

 OFFICER P.             O’DONNELL, OFFICER M. HOLLINGSWORTH, AND the VILLAGE OF

 OAK LAWN ILLINOIS, and states as follows:

             Plaintiff filed his Original Complaint on August 1, 2022, only four days after the events

 which gives rise to his claims. Dkt. 1. Plaintiff seeks to amend his complaint in order to make one

 major substantive change: add a state-law claim alleging willful and wanton conduct against the

 individual officers. Plaintiff’s Third Amended Complaint is attached hereto as Exhibit 1.

             A. Rule 15

             Courts “should freely give leave [to amend] when justice so requires.” Fed.R.Civ.P.

 15(a)(2). Courts are advised to use their discretion under Rule 15 to liberally grant permission to

 amend pleadings so long as there is no undue prejudice to the opposing party or undue delay, bad

 faith, or dilatory motive on the part of the movant. Sides v. City of Champaign, 496 F. 3d 820 (7th

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Cir. 2007) (citing Foman v. Davis, 371 U.S. 178, 182 (1962); Campania Mgmt. Co. v. Rooks,

Pitts & Poust, 290 F. 3d 843, 848–49 (7th Cir. 2002)). Rule 15(a)’s declaration that leave to

amend “shall be freely given when justice so requires” is a “mandate [ ] to be heeded.” Nutrien

Ag Sols., Inc. v. Consol. Grain & Barge Co., No. 421CV04091SLDJEH, 2022 WL 18539343 at

*3 (C.D. Ill. Sept. 2, 2022) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)).

       Here, Plaintiff has not brought this claim with undue delay or bad faith. All of the claims

alleged, including the added Willful and Wanton count, arise out of a use of physical force by

Defendant Officers on July 27, 2022. Plaintiff thus files the instant motion and Third Amended

Complaint, Ex. 1, within the statute of limitations. 745 ILC 10/8-101 (Claims must be filed within

1 yar from the date the cause of action accrued). Courts have routinely held that a motion for

leave to amend is considered unduly delayed and prejudicial “after discovery has been closed and

after a defendant's motion for summary judgment has been filed.” Moutry v. Travelers Home &

Marine Ins. Co., No. 22-CV-0070-BHL, 2023 WL 2019342 at *5 (E.D. Wis. Feb. 15, 2023)

(citing Sanders v. Venture Stores, Inc., 56 F.3d 771, 774 (7th Cir. 1995)). Here, the case has been

partially stayed and oral discovery has not commenced.

       Additionally, there is no bad faith here. Plaintiff merely aims to bring all claims, within

the statute of limitations, in which he can meet his burden of proof. If Plaintiff were to have

waited until the day of this filing to file his Original Complaint, he would be able to include his

Willful and Wanton count. Justice should not preclude him from including this claim merely

because he expeditiously put the Defendants on notice of this lawsuit much earlier.

       B. Rule 16

       To be sure, this Court set the deadline for pleadings to be amended by March 30, 2023 in

a Rule 16(b) Scheduling Order. Dkt. 28. Since that Order, this Court entered a stay, halting much



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of the discovery in this case. Dkt. 36. It is Plaintiff’s understanding that the current scheduling

order is moot due to the stay, as that Order set a deadline to complete all fact discovery by May 7,

2023, which is not possible given that oral discovery has been stayed since December 12, 2022.

Id.; Dkt. 28. Because the stay has necessarily altered the intended schedule of this case, Plaintiff

should be permitted to file his Third Amended Complaint notwithstanding the Scheduling Order.

        Even if the Scheduling Order did apply here, Plaintiff has good cause to amend his

complaint. A scheduling order may be altered for good cause with the judge’s consent. Fed. R.

Civ. P. 16(b)(4). “Rule 16(b)'s good cause standard ‘primarily considers the diligence of the party

seeking amendment.’” Recker v. Grief Packaging L.L.C., No. 16-2232, 2018 WL 8333364 (C.D.

Ill. Aug. 2, 2018) (citing Trustmark Ins. Co. v. Gen. & Cologne Life Re of Am., 424 F.3d 542, 553

(7th Cir. 2005). With the instant motion, Plaintiff is being diligent in ensuring that prior to the

statute of limitations elapsing, he has brought all claims applying to his injuries. Courts denying

motions for leave to amend typically do so once the case has matured past discovery. See e.g. Id.

(denying motion for leave to amend where the party filed the motion five months after the close

of discovery); DR Distributors, LLC v. 21 Century Smoking, Inc., No. 12 CV 50324, 2017 WL

11636699 at *4 (N.D. Ill. Oct. 2, 2017) (denying motion for leave to amend where fact discovery

had been closed for a year and expert discovery had also closed). Here, the parties have barely

even begun discovery due to the stay. Amending the complaint in this matter, which is in its very

early stages, would have virtually not impact on work that has already been done. Rather, it seeks

only to permit the Plaintiff to pursue all avenues of recovery moving forward by pleading one

more cause of action within the statute of limitations.




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        WHEREFORE, Plaintiff respectfully requests that this Motion for Leave to Amend be

 grant and the Third Amend Complaint, Ex. 1, be entered.




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